        Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 IN RE:                                                 14 Misc. 424 (VSB)
 APPLICATION OF HORNBEAM CORP.

                     INTERVENOR/MOVANT PANIKOS SYMEOU’S
                    NOTICE OF DEPOSITION OF VADIM SHULMAN

       PLEASE TAKE NOTICE that Intervenor/Movant Panikos Symeou (“Symeou”) intends to

take the deposition upon oral examination of VADIM SHULMAN, pursuant to the Federal Rules

of Civil Procedure, commencing at 10:00 a.m. on December __, 2020, and continuing as needed

day to day for a maximum of 14 hours (due to the need for translation) until completion, at the

offices of Reed Smith, 599 Lexington Avenue, New York, New York 10022, or otherwise at a

location or via Zoom, as agreed by the parties.

       The deposition will take place before a disinterested, duly qualified Notary Public or other

officer authorized by law to administer oaths. The deposition will be recorded by stenographic

means, and may be videotaped.

       The deponent will be questioned concerning his knowledge of matters identified in

Schedule 1 attached hereto. At least fourteen (14) days prior to the scheduled deposition, the

deponent shall produce documents identified in Schedule 2 attached hereto. Definitions and

instructions are set forth in Schedule 3 attached hereto.

Dated: November __, 2020


                                                      REED SMITH LLP
                                                      By: /s/ Steven Cooper
                                                      Steven Cooper
                                                      Samuel Kadosh
                                                      599 Lexington Avenue
                                                      New York, New York 10022
                                                      Telephone: (212) 521-5400
                                                      scooper@reedsmith.com
                                                      Skadosh@reedsmith.com
                                                  1
Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 2 of 9




                                   and
                                   MARKS & SOKOLOV, LLC
                                   By: /s/ Bruce S. Marks
                                   Bruce S. Marks
                                   1835 Market Street, 28th Floor
                                   Philadelphia, PA 19103
                                   Telephone: (215)569-8901
                                   marks@mslegal.com

                                   Attorneys for Intervenor/Movant Panikos
                                   Symeou




                               2
           Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 3 of 9




                                           SCHEDULE 11

                 The name of each person that accessed or received Responsive Materials, including

HL, HL Int’l, Herbert Smith, and the Department of Justice (“DOJ”)/Federal Bureau of

Investigation (“FBI), the reason(s) for each person accessing or receiving Responsive Materials,

and the name(s) of the person(s) who provided or allowed access of Responsive Materials.

                 The reason(s) for the failure to certify destruction of Responsive Materials by the

Non-Certifying Recipients.

                 The names of all legal counsel and consultants that worked on preparing

Hornbeam’s claims for the BVI Proceeding and any documents prepared for the BVI Proceeding

after October 2016.

                 Engagement of HL, HL Int’l and Murphy & McGonigle PC and communications

and billing records for any legal counsel performing work for the BVI Proceeding, after October

2016.

                 The names of HL and/or HL Int’l attorneys that worked on both the English

Litigation and the PrivatBank Action.




1
    Capitalized terms not defined herein are defined in the attached “Definitions.”
                                                   3
          Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 4 of 9




                                        SCHEDULE 2

                              Document Requests Duces Tecum

               All engagement letters for Hornbeam Corp., Bracha Foundation, and/or Shulman

with HL, HL Int’l, Murphy & McGonigle PC and the firms engaged for Shulman’s Delaware

Action.

               All documents and communications concerning each person that accessed or

received Responsive Materials, including persons at HL, HL Int’l, Herbert Smith, and the

DOJ/FBI.

               All documents and communications concerning certification of destruction by the

Non-Certifying Recipients.

               All documents and communications concerning legal counsel and consultants that

after October 2016 worked on preparing Hornbeam’sclaims for the BVI Proceeding, including

documents prepared for the BVI Proceeding and related billing records, including but not limited

to from HL and HL Int’l.

               All documents and communications evidencing the same HL and/or HL Int’l

attorneys worked on both the English Litigation and the PrivatBank Action.




                                               4
        Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 5 of 9




                                        SCHEDULE 3

                                        DEFINITIONS

               “Ex Parte Order” shall mean the Court granting on December 24, 2014 (ECF 5)

Hornbeam’s December 19, 2014 ex parte Application (ECF 1) under 28 U.S.C. §1782 requesting

discovery for use in future BVI proceedings.

               “BVI Proceeding” shall mean the potential future BVI proceeding referred to and

contemplated in Hornbeam’s December 19, 2014 ex parte Application (ECF 1) under 28 U.S.C.

§1782 requesting discovery for use in future BVI proceedings, the Ex Parte Order (ECF 5) and

the Protective Orders.

               “Responsive Materials” shall mean the 14,000 bank records produced in response

to Hornbeam’s subpoenas on New York banks containing confidential business and personal

financial information of Halliwel’s beneficial owners – Gennady Bogolyubov (“Bogolyubov”) and

Igor Kolomoisky (“Kolomoisky”).

               “Protective Orders” shall mean collectively the Court’s August 4, 2015 Protective

Order (ECF 27), February 1, 2016 Amended Protective Order (“APO”) (ECF 71) and May 12,

2017 Second Amended Protective Order (“SAPO”) (ECF 106).

               “Permitted Litigations” shall mean this §1782 proceeding, any “Hornbeam

initiate[d] proceedings in the BVI … [and none other because] Hornbeam may not use the

Responsive Materials in any other litigation…” See APO/SAPO, ¶1(e) (citing the September 17,

2015 Order at 21).

               “English Litigation” shall mean the action commenced in England’s High Court

of Justice Chancery Division on May 12, 2017 against Messrs. Kolomoisky and Bogolyubov.

               “Non-Certifying Recipients” means those persons that did not certify destruction

of the Responsive Materials, including Vadim Shulman, Hornbeam Corporation (“Hornbeam”);
                                               5
         Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 6 of 9




HL Int’l, Herbert Smith; Natalya Luchnikova; Carol Bruce (who was no longer at Murphy &

McGonigle PC as of late 2019); and Holland & Knight LLP attorneys, James Power and Sean

Barry.

               “Delaware Action” shall mean the proceeding brought by Shulman, Bracha and

Hornbeam in the Delaware Court of Chancery, C.A. No. 2019-0678, (ECF 187-1).

               “PrivatBank” shall mean Joint Stock Company Commercial Bank PrivatBank.

               “PrivatBank Action” shall mean the action PrivatBank brought in England in

which, on December 19, 2017, HL Int’l applied for a Worldwide Freezing Order against

Kolomoisky and Bogolyubov, on behalf of PrivatBank.

               “HL” shall mean Hogan Lovells US LLP.

               “HL Int’l” shall mean Hogan Lovells International LLP.

               “Herbert Smith” shall mean Herbert Smith Freehills LLP.

                “Communication” shall mean the transmittal of information (in the form of facts,

ideas, inquiries or otherwise) and includes but is not limited to all correspondence, emails, texts,

recordings and messages.

               “Concerning” shall mean regarding, relating to, referring to, pertaining to, alluding

to, responding to, commenting upon, describing, discussing, showing, disclosing, explaining,

evidencing, mentioning, analyzing, comprising, constituting, characterizing, setting forth, or

summarizing, either directly or indirectly in whole or in part.

               “Document(s)” shall be interpreted in the broadest possible sense and is defined to

be synonymous in meaning and equal in scope to the usage of the term “documents or

electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A) and includes, but is not limited

to, all hardcopies, all electronic data (e.g., emails, texts) and all communications which are stored


                                                 6
        Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 7 of 9




or retrievable or recorded in any manner. “Document” also includes drafts or revisions or non-

identical copies and each such copy is a separate document within the meaning of this term.

               “Person” shall mean any natural person or any legal entity, including, without

limitation, any proprietorship, partnership, corporation, association, organization, trust, joint

venture, firm, group, other business enterprise, governmental body, group of natural persons or

other entity and the parent entities, affiliates, divisions, subgroups, subsidiaries, predecessors-in-

interest, successors, assigns, representatives, attorneys, financial advisors, accountants, trustees,

consultants, agents, officers, directors, employees thereof.

               “Relevant Time Period” shall mean the time period from December 24, 2014

through the present, unless otherwise stated.

               “State,” or “Describe,” or “Identify,” “Identity,” or “Identification” shall have

the following meanings as the context shall make appropriate:

               a.      When applied to persons means that You are to state the person’s: (i) full
                       name; (ii) current or last known business address and telephone numbers;
                       (iii) title/position (if any); and (iv) subject matter of which the person has
                       knowledge related to this action.

               b.      When used with reference to a communication means that You are to state:
                       (i) the parties to the communication; (ii) the date (or approximate date if the
                       exact date cannot be remembered) of the communication; (iii) whether the
                       communication was written or oral; (iv) the substance of the
                       communication; (v) the identity of any documents relating to the
                       communication; and (vi) the location of the notes or other documents.

               c.      When used with reference to a document means You are to state: (i) the type
                       of document (e.g., letter, photograph); (ii) each person who wrote, signed,
                       initialed or otherwise participated in the creation of the document; (iii) the
                       document’s addressee, recipient, and any other person to whom it was
                       directed or made available; (iv) the date (or approximate date if the exact
                       date cannot be remembered) the document was created; (v) the document’s
                       language, text or substance (to the best that it can be recalled); and (vi) if
                       the document is no longer in existence or in Your control, the disposition
                       that was made of it and the document’s present location or the location of
                       any copies known to the party.

                                                  7
          Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 8 of 9




               “You” and “Your” shall mean the deponent and all of his present or former agents,

attorneys, consultants, employees, representatives and/or anyone acting or purporting to act on his

behalf.

                                        INSTRUCTIONS

               The following rules of construction apply:

               a.      All/Any/Each. The terms “all,” “any,” and “each” shall each be construed
                       as encompassing any and all.

               b.      And/Or. The connectives “and” and “or” shall be construed either
                       disjunctively or conjunctively as necessary to bring within the scope of the
                       discovery request all responses that might otherwise be construed to be
                       outside of its scope.

               c.      Number. The use of the singular form of any word includes the plural and
                       vice versa.

               d.      Including. The term “including” shall be deemed to be always followed by
                       the phrase “but not limited to” whether or not it is written as such.

               The use of the masculine shall include the feminine, or neuter, as appropriate, in

the context.

               If You claim privilege or any other objection with regard to only part of a document

or request, respond to or produce the part to which there is no objection. With regard to the portion

objected to, or if a complete document, please prepare a privilege log setting forth the subject

matter of the document, date made, length of pages, identity of senders and recipients, and nature

of the objection.

               Where a complete answer to a particular request is not possible, answer the request

to the extent possible and state why only a partial answer is given. In the event you object to any

request or instruction on the basis of a contention that it is vague, ambiguous, or overbroad, set

forth as part of Your response, the language You claim is vague, ambiguous, or overbroad, and the

interpretation You used in order to respond.

                                                 8
         Case 1:14-mc-00424-P1 Document 217-8 Filed 11/12/20 Page 9 of 9




                In the event file(s) or document(s) has/have been removed, either for the purpose

of this action or for some other purpose, please state the name and address of the person who

removed the file, the title of the file and each sub-file, if any, maintained within the file, and the

present location of the file.

                If any document responsive to a request was, but no longer is, in Your possession,

custody or subject to Your control, or has been destroyed, discarded or otherwise incapable of

production, state: (a) the date; (b) the sender, recipient and persons to whom copies were provided,

together with their job titles; (c) the information contained therein; (d) the date upon which it

ceased to exist; (e) the efforts made to recover the document or information; (f) the circumstances

under which it was discarded, lost or destroyed; (g) the disposition that was made of it; and (h) the

identity of all persons having knowledge of the contents.

                Electronic data shall be produced in native format with load files and all metadata

included.

                Unless otherwise specified, documents and information are requested for the

Relevant Time Period.




                                                  9
